                                                                                      FILED
                                                                               November 12, 2021
                           UNITED STATES DISTRICT COURT                        CLERK, U.S. DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS                          WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                                            kkc
                                                                            BY: ________________________________
                                                                                                    DEPUTY
SEALED

 UNITED STATES OF AMERICA,                       §
                                                 §
                       Plaintiff.                §
                                                 §
 v.                                              §                   1:21-mj-935-ML
                                                       CRIMINAL NO. ________________
                                                 §
 FRANKLIN BARRETT SECHRIEST,                     §
                                                 §
                       Defendant.                §
                                                 §


                                            ORDER

       Upon considering the Government's Motion to Seal Case and Criminal Complaint in the

above styled cause, the Court finds it to be meritorious. Accordingly,

       IT IS ORDERED that the Government’s motion is GRANTED.

       IT IS FURTHER ORDERED that the Clerk of the Court SEAL this Order, the case, and

all documents filed in this cause, to include the case caption, Criminal Complaint and affidavit in

support thereof, arrest warrant, any attachments, motion to detain, and any additional pleadings,

documents, and orders, save for one file-stamped copy of all documents to be provided to the U.S.

Attorney's Office. Upon Defendant’s arrest or at the time of Defendant=s initial appearance, the

case and all documents filed in this cause shall be immediately unsealed without further order of

the Court.

       SIGNED this 12th day of November, 2021.



                                                 ______________________________________
                                                 UNITED STATES MAGISTRATE JUDGE
